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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 18-cv-62064-GAYLES/SELTZER

  STEVEN J. BACKALUKAS, as assignee of
  CHARMAYNE GOWDY,

           Plaintiff,

  v.

  STATE FARM MUTUAL AUTOMOBILE
  COMPANY,

        Defendant.
  _____________________________________/

             DEFENDANT’S MOTION TO ENFORCE NON-PARTY SUBPOENAS
            AND COMPEL PRODUCTION OF DOCUMENTS FROM NON-PARTIES
                          (Memorandum of Law Included)

           Defendant, State Farm Mutual Automobile Insurance Company (“State Farm”), pursuant

  to the Court’s order dated March 28, 2019 [D.E. 20] and Federal Rules of Civil Procedure 37 and

  45, files this motion to enforce non-party subpoenas served on, and to compel production by,

  non-parties: (1) J. Samantha Vacciana, Esq. and Trial Lawyers of Florida (f/k/a Trial Lawyers of

  Palm Beaches) (“Vacciana”); and (2) Thomas Scolaro, Esq. and Leesfield Scolaro (”Scolaro”).

  As grounds, State Farm states:

           1.      This case involves a “Coblentz” claim,1 by which Plaintiff seeks to recover from

  State Farm pursuant to a settlement agreement between Plaintiff and State Farm’s insured,

  Charmayne Gowdy, for an underlying claim asserted by Plaintiff against Ms. Gowdy.              Under

  Coblentz, “if a liability insurer is informed of an action against its insured, but declines to defend

  the insured, the insurer may be held to a consent judgment entered in that action, absent fraud or

  collusion.” Stephens v. Mid-Continent Cas. Co., 749 F. 3d 1318, 1321 (11th Cir. 2014); see also
  1
      Coblentz v. Am. Sur. Co. of New York, 416 F.2d 1059 (5th Cir. 1969)
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  Perera v. U.S. Fid. & Guar. Co., 35 So. 3d 893, 900 (Fla. 2010). In that situation, the insured

  “may enter into a reasonable settlement agreement with the [plaintiff] and consent to an adverse

  judgment for the policy limits that is collectable only against the insurer.” Id.2 Such agreements

  generally include, as does the one here, an assignment from the insured to the plaintiff of any

  right of action that the insured might have against her insurer. See, e.g., Kostelac v. Allianz

  Global Corp.& Specialty AG, 517 F. App’x 670, 673 & n.1 (11th Cir. 2013).

         2.      Vacciana was legal counsel for State Farm’s insured, Charmayne Gowdy, during

  the underlying claim and represented her through the mediation and settlement of that claim.

  State Farm served Vacciana with a non-party subpoena for documents pursuant to Federal Rule

  of Civil Procedure 45. (Exhibit 1) The subpoena requested 10 categories of documents and a

  privilege log if any documents were being withheld:

         1. All documents, correspondence or other written communication, including
            electronically stored information, e-mails, texts, and electronic
            communications, and any documents or data compilations reflecting oral
            communications, relating to the accident that occurred on October 10, 2015, at
            NW 3rd Avenue and West Hillsboro Boulevard, Deerfield Beach, Florida,
            between a vehicle driven by your client, Charmayne Gowdy, and a motorcycle
            driven by Steven J. Backalukas, that are in your possession, custody or
            control.

         2. All photographs or video recordings (to be produced in color JPEG and/or
            original digital format) relating to the accident that occurred on October 10,
            2015, at NW 3rd Avenue and West Hillsboro Boulevard, Deerfield Beach,
            Florida, between a vehicle driven by your client, Charmayne Gowdy, and a
            motorcycle driven by Steven J. Backalukas, that are in your possession,
            custody or control.

         3. All correspondence (including emails, text messages, or other electronic
            communications) between State Farm and Charmayne Gowdy and/or her
            representatives regarding coverage under Charmayne Gowdy’s policy with
            State Farm for the accident that occurred on October 10, 2015, at NW 3rd
            Avenue and West Hillsboro Boulevard, Deerfield Beach, Florida, between a


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    In this case, no action was ever filed against by Plaintiff against Ms. Gowdy, so a consent
  judgment was never entered, only the Coblentz settlement agreement itself.
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           vehicle driven by your client, Charmayne Gowdy, and a motorcycle driven by
           Steven J. Backalukas, that are in your possession custody or control.

        4. All correspondence (including emails, text messages, or other electronic
           communications) between State Farm and Steven J. Backalukas and/or his
           representatives, that are in your possession, custody or control.

        5. All correspondence (including emails, text messages, or other electronic
           communications) between Charmayne Gowdy and/or her representatives and
           Steven J. Backalukas and/or his representatives that are in your possession,
           custody or control.

        6. All documents, correspondence or other written communication, including
           electronically stored information, e-mails, texts, and electronic
           communications, and any documents or data compilations reflecting oral
           communications, regarding the mediation on May 22, 2017 and the Settlement
           and Assignment Agreement entered on or around July 20, 2017 between
           Steven Backalukas and Charmayne Gowdy, including all correspondence or
           documents exchanged between the parties or their representatives relating to
           and leading to the mediation and settlement as well as all drafts of the
           settlement agreement and the final version of the settlement agreement that
           are in your possession, custody or control.

        7. All documents, correspondence or other written communication, including
           electronically stored information, e-mails, texts, and electronic
           communications, and any documents or data compilations reflecting oral
           communications, regarding any claim or claims presented by Steven
           Backalukas to or against Charmayne Gowdy, relating to the accident that
           occurred on October 10, 2015, at NW 3rd Avenue and West Hillsboro
           Boulevard, Deerfield Beach, Florida, including any documents relating to
           settlement of any claims, negotiations as to settlement of any claims, and
           documents exchanged between the parties or their representatives regarding
           the negotiations or the settlement, including medical records or any other
           documents concerning the value of any claims and evaluations as to liability
           for the claims, that are in your possession, custody or control.

        8. All documents, correspondence or other written communication, including
           electronically stored information, e-mails, texts, and electronic
           communications, and any documents or data compilations reflecting oral
           communications, concerning the 2001 Honda Civic vehicle owned by
           Charmayne Gowdy on October 10, 2015 and insured under the policy issued
           by State Farm to Charmayne Gowdy as of that date, including all repair
           records for the Honda vehicle regardless of date and all documents reflecting
           any problems, mechanical or otherwise, that existed with the Honda vehicle
           on or around October 10, 2015, that are in your possession, custody or control.



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            9. All other document regarding the July 20, 2017 settlement and assignment
               agreement between Steven Backalukas and Charmayne Gowdy if not
               produced in response to the foregoing that are in your possession, custody or
               control.

            10. Any other documents in your files with regard to your representation of
                Charmayne Gowdy concerning the accident on October 10, 2015 at NW 3rd
                Avenue and West Hillsboro Boulevard, Deerfield Beach, Florida, claims
                arising from that accident, and the settlement of claims arising from that
                accident, not produced in response to the foregoing requests.

            11. A privilege log for any responsive documents withheld on grounds of
                attorney-client privilege, the work product doctrine, or for any other reason.

  (Ex. 1)

            3.      On February 1, 2019, Vacciana served a response to the subpoena, which is

  attached as Exhibit 2.       For each category of documents requested, Vacciana responded:

  “Produced entire file to Ver Pleog & Lumpkin, P.A. and we adopt its responses.” (Ex. 2)

  Vacciana provided the same response to the request for a privilege log. (Ex. 2) No documents

  were produced and no privilege log was provided.

            4.     Ver Pleog & Lumpkin, P.A. represents Plaintiff, Steven Backalukas, in this case.

            5.      Scolaro was legal counsel for Plaintiff, Steven Backalukas, during the underlying

  claim and represented him through the mediation and settlement of that claim. State Farm served

  Scolaro with a non-party subpoena for documents pursuant to Federal Rule of Civil Procedure

  45. (Exhibit 3)     The subpoena requested 10 categories of documents and a privilege log if any

  documents were being withheld. (Ex. 3) The requests were similar to those set forth above for

  the subpoena served on Vacciana, requesting:

            1. All documents, correspondence or other written communication, including
               electronically stored information, e-mails, texts, and electronic
               communications, and any documents or data compilations reflecting oral
               communications, relating to the accident that occurred on October 10, 2015, at
               NW 3rd Avenue and West Hillsboro Boulevard, Deerfield Beach, Florida,
               between a vehicle driven by Charmayne Gowdy and a motorcycle driven by


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           your client, Steven J. Backalukas, that are in your possession, custody or
           control.

        2. All photographs or video recordings (to be produced in color JPEG and/or
           original digital format) relating to the accident that occurred on October 10,
           2015, at NW 3rd Avenue and West Hillsboro Boulevard, Deerfield Beach,
           Florida, between a vehicle driven by Charmayne Gowdy and a motorcycle
           driven by your client, Steven J. Backalukas, that are in your possession,
           custody or control.

        3. All correspondence (including emails, text messages, or other electronic
           communications) between State Farm and Charmayne Gowdy and/or her
           representatives regarding coverage under Charmayne Gowdy’s policy with
           State Farm for the accident that occurred on October 10, 2015, at NW 3rd
           Avenue and West Hillsboro Boulevard, Deerfield Beach, Florida, between a
           vehicle driven by Charmayne Gowdy, and a motorcycle driven by your client,
           Steven J. Backalukas, that are in your possession custody or control.

        4. All correspondence (including emails, text messages, or other electronic
           communications) between State Farm and Steven J. Backalukas and/or his
           representatives, that are in your possession, custody or control.

        5. All correspondence (including emails, text messages, or other electronic
           communications) between Charmayne Gowdy and/or her representatives and
           Steven J. Backalukas and/or his representatives that are in your possession,
           custody or control.

        6. All documents, correspondence or other written communication, including
           electronically stored information, e-mails, texts, and electronic
           communications, and any documents or data compilations reflecting oral
           communications, regarding the mediation on May 22, 2017 and the Settlement
           and Assignment Agreement entered on or around July 20, 2017 between
           Steven Backalukas and Charmayne Gowdy, including all correspondence or
           documents exchanged between the parties or their representatives relating to
           and leading to the mediation and settlement as well as all drafts of the
           settlement agreement and the final version of the settlement agreement that
           are in your possession, custody or control.

        7. All documents, correspondence or other written communication, including
           electronically stored information, e-mails, texts, and electronic
           communications, and any documents or data compilations reflecting oral
           communications, regarding any claim or claims presented by Steven
           Backalukas to or against Charmayne Gowdy, relating to the accident that
           occurred on October 10, 2015, at NW 3rd Avenue and West Hillsboro
           Boulevard, Deerfield Beach, Florida, including any documents relating to
           settlement of any claims, negotiations as to settlement of any claims, and


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              documents exchanged between the parties or their representatives regarding
              the negotiations or the settlement, including medical records or any other
              documents concerning the value of any claims and evaluations as to liability
              for the claims, that are in your possession, custody or control.

         8. All documents, correspondence or other written communication, including
            electronically stored information, e-mails, texts, and electronic
            communications, and any documents or data compilations reflecting oral
            communications, concerning the 2001 Honda Civic vehicle owned by
            Charmayne Gowdy on October 10, 2015 and insured under the policy issued
            by State Farm to Charmayne Gowdy as of that date, including all repair
            records for the Honda vehicle regardless of date and all documents reflecting
            any problems, mechanical or otherwise, that existed with the Honda vehicle
            on or around October 10, 2015, that are in your possession, custody or control.

         9. All other document regarding the July 20, 2017 settlement and assignment
            agreement between Steven Backalukas and Charmayne Gowdy if not
            produced in response to the foregoing that are in your possession, custody or
            control.

         10. Any other documents in your files with regard to your representation of
             Steven J. Backalukas with regard to the accident on October 10, 2015 at NW
             3rd Avenue and West Hillsboro Boulevard, Deerfield Beach, Florida, claims
             arising from that accident, and the settlement of claims arising from that
             accident, not produced in response to the foregoing requests.

         11. A privilege log for any responsive documents withheld on grounds of
             attorney-client privilege, the work product doctrine, or for any other reason.

   (Ex. 3)

         6.      On February 1, 2019, Scolaro responded by letter stating: “Leesfield Scolaro

  produced their entire file to Backalukas’s counsel Ver Ploeg & Lumpkin and Leesfield Scolaro

  adopts Ver Ploeg & Lumpkin’s responses. (Exhibit 4)

         7.      Following receipt of State Farm’s notice of intent to serve these subpoenas,

  Plaintiff, through his counsel Ver Ploeg & Lumpkin, P.A., objected to the subpoenas by letter:




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  “The three subpoenas are duplicative and create an unnecessary duplication of effort.” (Exhibit

  5)3 In that letter, Plaintiff’s counsel stated:

            In the First Request for Production to Mr. Backalukas, State Farm requested the
            entire file of each of the three law firms it now intends to subpoena. We obtained
            the files and produced all non-privileged documetns and noted all privileged
            documents on the Privilege Log. Mr. Backalukas provided his Responses to State
            Farm’s First Request for Production, along with his Privilege Log and documents,
            on December 3, 2018. This production included all non-privileged documents
            from Mr. Scolaro and Mr. Alexander’s files. On December 19, 2018, Mr.
            Backalukas provided an Amended Privilege log along with a supplemental
            production of all non-privileged documents from Ms. Vacciana’s files.

  (Ex. 5)

            8.     In its First Request for Production to Plaintiff, State Farm had requested the files

  of Scolaro and the attorneys and/or law firm that represented Charmayne Gowdy (Vacciana’s

  identity was not known to State Farm at the time the requests were served) with regard to the

  underlying claim.     In response to those requests, Plaintiff responded: “Objection. This request

  seeks documents protected by attorney-client privilege and the work product doctrine. All non-

  privileged documents will be Bates numbered and produced.”              (Exhibit 6, Nos. 4 and 5)

  Plaintiff’s Amended Privilege Log is attached as Exhibit 7)          Based on the information in


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    State Farm also issued a subpoena to John T. Alexander, Esq. and Alexander & Angleas, P.C.
  (“Alexander”), counsel for Mr. Backalukas before Scolaro. This motion is not directed to that
  discovery because Rule 45(d)(2)(B)(i) would appear to require the motion be filed in Michigan,
  where Mr. Alexander is located. However, it is noteworthy that, in responding to State Farm’s
  subpoena, although not providing a privilege log as requested, Alexander indicated that he was
  withholding “approximately 26 emails between our firm and the client (between Oct-Nov
  2015)”, none of which are included on Plaintiff’s amended privilege log, and “approximately 9
  emails” with Scolaro, whereas Plaintiff’s amended privilege log lists eight. It is also curious that
  Alexander had approximately 26 emails with Plaintiff during his few months of representation of
  Plaintiff and there are no emails identified on Plaintiff’s amended privilege log between Scolaro
  and Plaintiff, although that representation lasted years. Also curious is that Plaintiff’s amended
  privilege log identifies an email between Vacciana’s office and Scolaro’s office as part of
  Scolaro’s file (GOWDY 00221-00222), but there is no corresponding email included from
  Vacciana’s file on the amended privilege log. It seems apparent that Plaintiff’s counsel has not
  been provided the complete files of Alexander, Scolaro, and Vacciano as indicated in the
  objection letter.
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  Plaintiff’s counsel’s letter quoted above, since confirmed, those documents identified on the log

  beginning with GOWDY 00026 through GOWDY 00461 were supplied by Scolaro to Plaintiff’s

  counsel, and the documents identified on the log beginning with GOWDY 01048 through

  GOWDY 01156 were supplied by Vacciana to Plaintiff’s counsel.4

           9.      On March 28, 2019, the undersigned conferred with Vacciana and Scolaro and

  sent them an email in an effort to resolve the issues raised in this motion. Neither responded.

  But Plaintiff’s counsel in this case did respond that day, indicating he disagreed with State

  Farm’s position and we should move forward with filing this motion to compel. During the

  course of the email exchange on these issues, the undersigned advised Vacciana and Scolaro

  (and Plaintiff’s counsel) that State Farm intended to schedule their depositions in the near future

  and indicated a desire to address any privilege issues that they might raise to attempt to avoid

  appearing for or testifying in those depositions in conjunction with this motion.      Neither the

  non-parties nor Plaintiff’s counsel responded as to this issue.

                                        Memorandum of Law

           10.     The discovery sought by State Farm’s subpoenas is entirely appropriate in this

  Coblentz case. See, e.g., Kehle v. USAA Cas. Ins. Co., 2017 WL 6729186 (S.D. Fla. Dec. 28,

  2017). Indeed, other than Plaintiff asserting privilege and work product objections to some of

  the documents from the non-parties’ files on behalf of the non-parties, there was no objection by

  the non-parties or Plaintiff to the scope of the requests in the subpoena.

           11.     Where, as here, a plaintiff seeks to recover from an insurer under a Coblentz

  settlement agreement, the plaintiff must establish that: (1) coverage exists for the underlying

  claim asserted by plaintiff against the insured; (2) the insurer wrongfully refused to defend the

  insured with regard to that underlying claim; and (3) the settlement entered by plaintiff and the
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      See supra note 3.
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  insured was reasonable and made in good faith. Id. at *7 (citations omitted). As to the last

  element, although the ultimate burden of proof as to lack of reasonableness and good faith is on

  the insurer, the plaintiff must still demonstrate a prima facie showing that the agreement is

  reasonable and made in good faith. Id. (citations omitted). “Good faith” in this context means

  the settlement is not “tainted by bad faith, fraud, collusion, or without effort to minimize

  liability.” See Mid-Continent Cas. Co. v. Am. Pride Bldg. Co., 534 Fed. Appx. 926, 927-28 (11th

  Cir. 2013); see also Jimenez v. Gov’t Employees Ins. Co., 651 Fed. Appx. 850, 854 (11th Cir.

  2016). As such, discovery directed to the files of counsel representing the insured (Ms. Gowdy

  here) and the claimant (Plaintiff here) during the underlying claim, including communications

  leading to and documents concerning the settlement, is entirely appropriate. See, e.g., Kehle,

  2017 WL 6729186; Kehle v. USAA Cas. Ins. Co., 2018 WL 2435176 (S.D. Fla. May 30, 2018);

  Bradford v. Mid-Continent Cas. Co., 15 F. Supp. 3d 1253 (M.D. Fla. 2014); Wrangen v. Penn.

  Lumbermans Mut. Ins. Co., 593 F. Supp. 2d 1273 (S.D. Fla. 2008).

         12.     Pursuant to Rule 45(a)(1)(D), “a command in a subpoena to produce documents,

  electronically stored information, or tangible things requires the responding person to permit

  inspection [and] copying . . . .” Rule 45(e)(1) requires the “person responding to a subpoena to

  produce documents” either as they are kept in the ordinary course of business or organize and

  label them to correspond to the categories requested. Rule 45(e)(2)(A) requires “[a] person

  withholding subpoenaed information” under a claim of privilege or work product to expressly

  make that claim and provide a privilege log. Vacciana and Scolaro have failed to comply with

  their obligations under Rule 45.

         13.     As Rule 45 provides, the subpoenaed person must produce responsive documents

  and provide a privilege log of documents withheld due to privilege or work product. State Farm



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   is entitled to get the documents requested (and any privilege log) directly from Vacciana and

   Scolaro. State Farm is not required to accept the filtered production provided by Plaintiff in this

   case after Vacciana and Scolaro supposedly voluntarily provided their files or portions of their

   files to Plaintiff’s counsel. Nor should Plaintiff’s counsel in this case be creating a privilege log

   for these non-parties. Indeed, Plaintiff does not have standing to assert an attorney-client or

   work product privilege on behalf of non-parties to this lawsuit. Such was the holding of this

   Court in Kehle, 2017 WL 6729186, *17 & n.10, which also involved a claim to enforce a

   Coblentz agreement against an insurer and the insurer’s discovery to the attorneys representing

   the insured and another defendant in the underlying claim.

          14.     Even if the Court were to allow these non-parties to provide their documents to

   Plaintiff and have Plaintiff filter them through to State Farm and prepare a privilege log for the

   non-parties, the documents on Plaintiff’s amended privilege log should be ordered produced by

   the non-parties or by Plaintiff. The doctrines of “at-issue waiver,” “subject-matter waiver,” and

   “sword and shield” affect a waiver of any otherwise applicable work product or attorney-client

   privilege to the documents on Plaintiff’s amended privilege log. See, e.g., Kehle, 2018 WL

   2435176; Bradford.

          15.     “The subject-matter waiver doctrine provides that a party who injects into the case

   an issue that in fairness requires an examination of communications otherwise protected by the

   attorney-client privilege [or work product doctrine] loses that privilege.” Kehle, 2018 WL

   2435176, *5 (citing Cox v. Adm’r U.S. Steel & Carnegie, 17 F. 3d 1386, 1422 (11th Cir. 1994),

   and GAB Bus. Servs., Inc. v. Syndicate 627, 809 F. 2d 755, 762 (11th Cir. 1987)). Under this

   doctrine, a party waives work-product or attorney-client privilege when: (1) assertion of the

   protections results from some affirmative act by the party invoking the protection; (2) through



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   this affirmative act, the asserting party puts the protected information at issue by making it

   relevant to the case; and (3) application of the protection would deny the opposing party access

   to information vital to its defense. Id. at *7 (citations omitted) (referring to the “Hearn test”).5

            16.    In Kehle, this Court was addressing nearly identical discovery by an insurer to

   counsel for plaintiff and the defendants (including the insured) in the underlying claim, including

   defense counsel’s entire files and emails between plaintiff’s counsel in the underlying claim and

   his counsel in the Coblentz action. 2017 WL 6729186, *3-4; 2018 WL 2435176, *1. The Court

   found that all elements of the Hearn test were met such that even opinion work product

   documents from plaintiff’s counsel in the underlying claim, including emails with plaintiff’s

   counsel in the Coblentz action, were required to be produced to the insurer defendant in the

   Coblentz action:

            The Court finds that Defendant has met the first element of the Hearn test because
            it has shown that the assertion of the opinion work-product privilege was
            affirmatively raised by Plaintiff when she filed this lawsuit. See Bradfield, 15 F.
            Supp. 3d at 1257. Here, Plaintiff, who is the party invoking the work-product
            protection, will have to make a prima facie showing that the hybrid Coblentz
            agreement/arbitration award was reasonable and made in good faith in order to
            enforce the agreement. Id. Therefore, Plaintiff cannot “hide behind the shield of
            privilege” to prevent Defendant from effectively challenging the evidence she
            presents. Id.

            Defendant has met the second element of the Hearn test by demonstrating that
            Plaintiff has put the protected information at issue by making it relevant to this
            case. . . . Plaintiff has made the emails between Plaintiff’s former counsel and her
            current counsel relevant to this case because she must show that the hybrid
            Coblentz agreement/arbitration award was not tainted with “bad faith, fraud, or
            collusion.” Id. . . .

            Finally, the Court finds that allowing Plaintiff to maintain her work-product
            privilege would deny [the insurer defendant] access to information vital to its
            defense because it would preclude [the insurer] from probing into the primary
            source of evidence of alleged bad faith, fraud, and collusion. Plaintiff has brought
            a breach of contract action and seeks to enforce the hybrid Coblentz agreement . .
            . against Defendant [insurer] . . . . As stated above, the spirit of the at-issue
   5
       Hearn v. Rhay, 68 F.R.D. 574 (E.D. Wash. 1975).
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          waiver doctrine is to encourage fairness. Enforcing the hybrid Coblentz
          agreement/arbitration award requires Plaintiff to establish, by a prima facie
          showing, that the hybrid Coblentz agreement/arbitration award was reasonable
          and made in good faith, but the ultimate burden of proof will rest with [the
          insurer]. . . . It would be manifestly unfair to prohibit Defendant from discovery
          into the communications between Plaintiff’s former and current attorneys
          regarding the settlement agreement, the arbitration proceedings, and the
          arbitration award which are directly relevant to the reasonableness and good faith
          of the hybrid Coblentz agreement/arbitration award, and to issues of alleged
          collusion.

          [T]he Court will not “hamstring Defendant [insurer] from pursuing discovery into
          whether the settlement between Plaintiff and [the insured] was reasonable, in
          good faith, or a sham.” To not allow Defendant discovery into specific areas of
          the underlying lawsuit would deprive Defendant of its only source of information
          needed to determine if the settlement agreement and arbitration award were in fact
          reasonable, free from collusion, and made in good faith, and it would indeed deny
          [the insurer] access to information vital to its defense. Thus, Defendant has met
          the third element of the Hearn test.

   2018 WL 2435176, *7-8 (some citations omitted).

          17.    The same analysis and conclusions are applicable here. The assertion of work

   product and attorney-client privilege was affirmatively raised by Plaintiff when he filed this

   lawsuit because Plaintiff will have to make a prima facie showing that the Coblentz settlement

   agreement here was reasonable and made in good faith, and without fraud or collusion. Plaintiff

   has put the protected information at issue by making it relevant to this case because he must

   show that the Coblentz agreement was not tainted by bad faith, fraud, or collusion. Allowing

   Plaintiff to maintain work product or attorney-client protection to the information would deny

   State Farm access to information vital to its defense. To prevent State Farm from discovering

   how the underlying claim was settled and the terms and amount of the settlement came about

   would deprive it of its only source of information needed to determine if the settlement

   agreement was in fact reasonable, free from collusion, and made in good faith. Given this action

   is brought by virtue of an assignment from State Farm’s insured, Charmayne Gowdy, to Plaintiff



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   and the Coblentz settlement agreement Ms. Gowdy entered expressly called for the filing of this

   Coblentz action against State Farm, the same analysis applies to any information claimed to be

   protected by work product or attorney-client privilege by Ms. Gowdy or her attorney, albeit

   asserted by Plaintiff.

           18.       Accordingly, this Court should overrule Plaintiff’s objections on behalf of

   Vacciana and Scolaro as to the documents on Plaintiff’s amended privilege log and find that

   protections of work product and attorney-client privilege, if any, have been waived under the at-

   issue, subject matter, and sword and shield doctrines.6 Alternatively, State Farm requests that the

   Court conduct an in camera review of the documents to determine the applicability of any such

   protections.

           19.     In addition, State Farm anticipates that privilege and work product objections may

   be asserted at the depositions of Vacciana and Scolaro, as well as other witnesses.7 State Farm

   requests that this Court, in ruling on this motion as to the subpoenas for documents, provide

   guidance on these issues so as to avoid the need for further motions and discovery disputes to be

   brought before this Court on these issues and the resulting need for depositions to be taken

   multiple times.


   6
     Plaintiff (and the non-parties) did not assert any objection based on the mediation privilege
   under Fla. Stat. § 44.405, or otherwise, to any of the discovery sought. In any event, any such
   privilege, even if it were applicable, would be waived under the same doctrines. See Barfield, 15
   F. Supp. 3d at 1256-57.
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     During the course of the deposition of Charmayne Gowdy, State Farm’s insured, Plaintiff’s
   counsel objected and instructed Ms. Gowdy not to answer any questions concerning discussions
   at mediation, asserting a Florida mediation privilege, as well as questions concerning discussions
   with counsel, asserting attorney-client privilege. These objections were improper and denied
   State Farm information vital to the defense of Plaintiff’s Coblentz claim. See Bradford; Kehle.
   This issue has not been brought before the Court yet as State Farm may be able to obtain
   testimony from other witnesses, including Vacciana, Scolaro, and Ms. Gowdy’s parents, Billy
   and Maryann Gowdy (who were at the mediation), with proper direction from the Court here,
   possibly eliminating the need to reconvene Ms. Gowdy’s deposition.
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                                              Conclusion

          WHEREFORE, based on the foregoing discussion and authorities, State Farm requests

   that the Court enter an order granting this motion, enforcing the subpoenas served on Vacciana

   and Scolaro, and compelling them to produce the documents requested in the subpoena,

   including any documents identified on Plaintiff’s amended privilege log. In addition, State Farm

   requests that the Court enter an order as to waiver of attorney-client, work product, or other

   privileges, including mediation privilege, based on the at-issue, subject-matter, and sword-and-

   shield doctrines to guide the parties in further discovery, including upcoming depositions.

                                       Certificate of Conference

          The undersigned, pursuant to Local Rule 7.1(a)(3), certifies that he has conferred with all

   parties and non-parties who may be affected by the relief sought in this motion in a good faith

   effort to resolve the issues raised in the motion and has been unable to do so. See supra ¶ 9.

   Dated: April 9, 2019                              Respectfully submitted,

                                                     s/ Paul L. Nettleton
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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on April 9, 2019, a true and correct copy of the foregoing was

   served by email to the below addressees:

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